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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

BRIGADIER GENERAL JOHN G. BAKER,                             )
     UNITED STATES MARINE CORPS,                             )
                                                             )      CIVIL ACTION
                                    Petitioner,              )      (HABEAS CORPUS)
                                                             )
v.                                                           )      No. 17-CV-2311 (RCL)
                                                             )
COLONEL VANCE SPATH, UNITED STATES                           )
    AIR FORCE,                                               )
    In his Official Capacity, and                            )
                                                             )
JAMES MATTIS, SECRETARY OF DEFENSE,                          )
     In his Official Capacity,                               )
                                                             )
                                    Respondents.             )


                       NOTICE OF CHANGE OF ADDRESS AND FIRM
       PLEASE TAKE NOTICE that effective February 28, 2018, the new mailing address for

Barry J. Pollack is:

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Dated: February 27, 2018                              Respectfully Submitted,
                                                                      /s/
                                                      Barry J. Pollack (D.C. Bar #434513)
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 27th day of February, 2018, a true and genuine copy of the
foregoing was sent via electronic mail by the Court’s CM/ECF system to the following:


                              Andrew I. Warden
                              U.S. Department of Justice
                              Federal Programs Branch
                              Andrew.warden@usdoj.gov

                              Terry Marcus Henry
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                                                                        /s/
                                                     Barry J. Pollack
